                 Case 13-13976
0005-33-EPIM33-00105013-196336     Doc 40      Filed 09/21/18 Entered 09/21/18 08:13:40               Desc Main
                                                 Document     Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF MASSACHUSETTS
                                                   BOSTON DIVISION


In re: KELVIN KEITH                                                                     Case No.: 13-13976-MSH

       Debtor(s)                                                                        Chapter 13 Bankruptcy


                                       NOTICE OF FINAL CURE PAYMENT

            Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee files Notice that the amount required to
      cure the default in the below claim has been paid in full and that the Debtor(s) have completed all payments
      under the plan.

      Name of Creditor:    US BANK TRUST NATIONAL
      Trustee Claim No.: 007

      Last four (4) digits of any number used to identify the Debtor's account: 7725

      Final Cure Amount:

           Amount of Allowed Pre-Petition Arrearage: $5,134.86

           Amount Paid by Trustee:                      $5,134.86


      Monthly Ongoing Mortgage Payment is Paid:

                   Through the Chapter 13 Trustee conduit               X   Direct by the Debtor



            Within 21 days of the service of this Notice, the creditor must file and serve same on the Debtor(s),
      Debtor's counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a Statement indicating
      whether it agrees that the Debtor has paid in full the amount required to cure the default and whether,
      consistent with the Bankruptcy Code section 1322(b)(5), the Debtor is otherwise current on all the payments
      or be subject to further action of the Court including possible sanctions.


      Dated: 09/21/2018                                     Respectfully submitted:


                                                             /s/ Carolyn A. Bankowski
                                                            Chapter 13 Trustee
                Case 13-13976      Doc 40      Filed 09/21/18       Entered 09/21/18 08:13:40           Desc Main
0005-33-EPIM33-00105013-443290   United States Bankruptcy
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                                              DISTRICT OF MASSACHUSETTS
                                                    BOSTON DIVISION

In Re:                                                                                          CASE NO: 13-13976-MSH
KELVIN KEITH



                                                  Certificate of Service

       The undersigned hereby certifies that on this date a copy of the Trustee's Notice of Final Cure Payment was served via
first class mail postage prepaid, or by electronic notice, upon the debtor, debtor's counsel and creditor at the addresses set
forth below.

RICHARD D. SMELOFF, ESQ
SMELOFF & ASSOCIATES 500 GRANITE AVE., SUITE 7 & 8 MILTON, MA 02186
KELVIN KEITH
34 MOUNT EVERETT STREET UNIT 3 DORCHESTER, MA 02125
US BANK TRUST NATIONAL
C/O SN SERVICING CORP 323 5TH ST EUREKA, CA 95501




Dated: 09/21/2018                                                          /s/ Carolyn A. Bankowski
                                                                           Chapter 13 Trustee
